Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 1 of 18 Page ID #:16279



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 9
10                       UNITED STATES DISTRICT COURT
11               FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13   ROXANA TOWRY RUSSELL,                    Case No. 2:19-cv-05495-MWF-JC
     d/b/a ROXY RUSSELL DESIGN,
14
                 Plaintiff,                   PLAINTIFF’S OMNIBUS
15                                            OPPOSITION TO WALMART’S
           v.
16                                            “AMENDED” MOTIONS IN
     WALMART INC., a Delaware                 LIMINE NOS. 1-5
17   corporation; WAL-MART.COM USA,
     LLC, a California Limited Liability
18   Corporation                              PTC Date:   June 27, 2022
                                              Time:       11:00 am
19               Defendant.                   Courtroom:  5A
20                                            Judge:      Hon. Michael W.
                                                          Fitzgerald
21                                            Trial Date: July 26, 2022
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        PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 2 of 18 Page ID #:16280



 1                                             TABLE OF CONTENTS
 2                                                                                                                  Page
 3   I.         INTRODUCTION ........................................................................................... 1
 4   II.        THE COURT HAS NOT AUTHORIZED WALMART TO FILE
 5              ADDITIONAL BRIEFING ON ITS MOTIONS IN LIMINE. ........................ 2
 6
     III.        WALMART’S “AMENDED” MOTIONS STILL LACK MERIT............... 4
 7
           A.      Walmart’s “Amended” Motion in Limine No. 1 ......................................... 4
 8
 9         B.      Walmart’s “Amended” Motion in Limine No. 2 ......................................... 6
10         C.      Walmart’s “Amended” Motion in Limine No. 3 ......................................... 9
11         D.      Walmart’s “Amended” Motion in Limine No. 4 ....................................... 10
12
           E.      Walmart’s “Amended” Motion in Limine No. 5 ....................................... 13
13
     IV.         CONCLUSION ............................................................................................ 14
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                       i                               2:19-cv-05495-MWF-JC
                                               TABLE OF CONTENTS
Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 3 of 18 Page ID #:16281



 1                                      TABLE OF AUTHORITIES
 2                                                                                                             Page(s)
 3                                                  Federal Cases
 4   Adobe Sys. Inc. v. Johnson,
 5     No. CV146313FMOVBKX, 2015 WL 12681313 (C.D. Cal. Apr. 27, 2015) .... 9
 6   Adobe Sys., Inc. v. Tilley,
 7     No. C 09-1085 PJH, 2010 WL 309249 (N.D. Cal. Jan. 19, 2010) ...................... 9
 8   Brighton Collectibles, Inc. v. RK Texas Leather Mfg.,
 9     923 F. Supp. 2d 1245 (S.D. Cal. 2013).............................................................. 12
10   Dastar Corp. v. Twentieth Century Fox Film Corp.,
11     539 U.S. 23 (2003) ............................................................................................... 7
12   Duncan v. Stuetzle,
13     76 F.3d 1480 (9th Cir. 1996) ............................................................................... 9
14   Gamma Audio & Video, Inc. v. Ean-Chea,
15     11 F.3d 1106 (1st Cir. 1993) ................................................................................ 4
16   Maritech Marine Servs., LLC v. Bay Welding Servs., Inc.,
17     No. 3:20-CV-00231-SLG, 2022 WL 138677 (D. Alaska Jan. 14, 2022) .......... 15
18   Marquis Mobile Dental Servs., LLC v. Abercrombie,
19     No. 3:08-1206, 2009 WL 10694950 (M.D. Tenn. Mar. 11, 2009)...................... 7
20   Microsoft Corp. v. Ricketts,
21     No. C 06-06712 WHA, 2007 WL 1520965 (N.D. Cal. May 24, 2007) .............. 9
22   Perfect 10, Inc. v. Giganews, Inc.,
23     No. CV 11-07098-AB (SHX), 2014 WL 10894452 (C.D. Cal. Oct. 31, 2014) 14
24   Ralston-Purina Co. v. Bertie,
25     541 F.2d 1363 (9th Cir. 1976) ........................................................................... 14
26   Transgo Inc. v. Ajac Transmission Parts Corp., 7
27     68 F.2d 1001 (9th Cir. 1985) ............................................................................... 8
28

                                                   i          2:19-cv-05495-MWF-JC
                                         TABLE OF AUTHORITIES
Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 4 of 18 Page ID #:16282



 1   Washington v. Essex,
 2     No. 18-16644, 2021 WL 4922373 (9th Cir. Oct. 21, 2021) .............................. 14
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
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27
28

                                          ii         2:19-cv-05495-MWF-JC
                                TABLE OF AUTHORITIES
Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 5 of 18 Page ID #:16283



 1   I.     INTRODUCTION
 2          Plaintiff reluctantly files this Omnibus Opposition to Walmart’s improper
 3   “amended” motions in limine. The parties completed briefing their respective
 4   motions in limine back in September 2021. Those fully briefed motions remain on
 5   the docket. Indeed, Walmart filed nearly 50 pages of briefing in support of its five
 6   motions in limine back on September 13, 2021, which Plaintiff painstakingly
 7   opposed within a week on September 20, 2021. No further briefs are permitted
 8   under the Court’s Standing Order. In February 2022, the parties even filed a
 9   stipulation pointing back to their original motion in limine briefing and
10   acknowledging that no further briefing would be filed. (See Dkt. No. 260). Even so,
11   Walmart now tries to take advantage of another COVID continuance to help itself
12   to additional briefing, filing yet another 50 pages on June 6, 2022, all without leave
13   of Court or advanced notice to Plaintiff.
14          In tacit acknowledgment of its misconduct, Walmart coyly suggests its briefs
15   are mere “amended” versions of its September 13, 2021 briefs. But with the benefit
16   of Plaintiff’s Oppositions in-hand, Walmart has substantially re-cast its arguments,
17   changed its requested relief, and, in one instance, written an entirely new (sixth)
18   motion. For example, while Walmart claims its “amended” MIL 2 purports to
19   address the “same subject matter” as its original motion and allegedly just “extends
20   the Motion’s request for relief,” (Dkt. No. 269 at Notice of Motion), nothing could
21   be further from the truth. The original motion sought to exclude evidence of
22   “Sunsea’s Other Bad Acts”; the “amended” motion seeks an order adjudicating all
23   of Plaintiff’s unfair competition and punitive damages claims. Making matters
24   worse, Walmart never withdrew its original motions—instead, it filed an omnibus
25   “Notice re Motions in Limine” in which it points to both its original and amended
26   briefing. (Dkt. No. 282). Walmart created a 100-page mess and left it to Plaintiff
27   and the Court to sort out.
28          Regrettably, this is par for the course and only the latest step in Walmart’s

                                     1          2:19-cv-05495-MWF-JC
          PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 6 of 18 Page ID #:16284



 1   scorched-earth litigation campaign. If this were truly a case about “four sales,” as
 2   Walmart repeats ad nauseam, it sure is not acting like it.
 3           Walmart’s motions (new, old, and otherwise) should be denied.
 4   II.     THE COURT HAS NOT AUTHORIZED WALMART TO FILE
 5           ADDITIONAL BRIEFING ON ITS MOTIONS IN LIMINE.
 6           Walmart has violated nearly every aspect of the Court’s clear Orders on
 7   motion in limine procedure.
 8           First, each side is permitted one brief per motion, limited to 10 pages. (Dkt.
 9   No. 23 at 6). Here, the parties filed their briefs with respect to Walmart’s motions
10   in limine on September 13 and 20, 2021. (See Dkt. Nos. 182-83, 190-92, 202-03,
11   207-09). Nothing in the rules allows a party to file additional briefing or somehow
12   “amend” its prior filings as Walmart does here. Walmart acknowledged this when
13   the parties simply re-noticed their prior motions in February to align with the Final
14   Pretrial Conference date. (Dkt. No. 260).
15           Second, read together, Local Rule 7-3 and the Court’s Order re Jury Trial
16   require counsel to “meet and confer with opposing counsel . . . to attempt to reach
17   an agreement that would obviate the motion” at least seven days before the motion
18   is filed. But far from complying with these rules, Walmart hid its intention to
19   “amend” its MILs until the business day before they were filed. As a result, the
20   parties only “conferred” on these motions the morning they were filed, and even
21   then Walmart could only offer vague suggestions about what was changing in the
22   motions, broadly claiming it was adding some “new arguments.” (Declaration of
23   Steve Papazian (“Papazian Decl.”) ¶ 11). As it turns out, redlines of these motions
24   show substantial re-writes. (See generally Exs. A-E). In one case (MIL 2), the
25   substance of the motion and the relief it seeks are entirely new—having read
26   Plaintiff’s oppositions, Walmart just decided to file a new motion. (See Ex. B).
27           Third, MILs should “address specific issues (e.g., not ‘to exclude all
28   hearsay’)” and should “not be disguised motions for summary adjudication of

                                      2          2:19-cv-05495-MWF-JC
           PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 7 of 18 Page ID #:16285



 1   issues.” (Dkt. No. 23 at 6-7). Walmart grossly violates these basic rules. For
 2   example, Walmart’s MIL 2 asks the Court to vaguely exclude “irrelevant Lanham
 3   Act damages.” (Dkt. No. 269). Likewise, Walmart’s MILs 1 and 2 seek substantive
 4   rulings on a wide range of merits issues.1 For instance, Walmart’s MIL 2 asks the
 5   Court to rule that Plaintiff’s unfair competition claims are preempted as a matter of
 6   law and to adjudicate Plaintiff’s punitive damages claim.          (Dkt. No. 269).
 7   Walmart’s papers are replete with contentions parroting the summary judgment
 8   standard. (Dkt. No. 268 (MIL 1) at 5:17-18 (“There is no evidence that the
 9   ‘Medusa’ and ‘Polyp’ pictorial works live their own copyright life.”), 6:10-11
10   (“There is no evidence that the photographs have any independent economic value
11   . . .”); Dkt. No. 269 (MIL 2) 5:22-23 (“Plaintiff cannot succeed in her trademark
12   claims as a matter of law.”), 10:13-15 (“The Court should exclude any theories,
13   evidence, or references suggesting an entitlement to any Lanham Act ‘actual
14   damages’ or ‘corrective advertising’ or generally for punitive damages, when none
15   are available as a matter of law.”). Walmart’s statements are obviously disputed
16   and forcing Plaintiff to respond to thinly veiled Rule 56 motions in one week is an
17   abuse of the pretrial process.2
18         Walmart’s lone justification of its conduct is that the Court “previously
19   vacated the Final Pretrial Conference and hearing on Motions in Limine and re-set
20   new deadlines.” (See, e.g., Dkt. No. 268 at Notice of Motion). But the Court’s
21
22   1
       As explained below, Walmart actually raised some of these very arguments in its
23   motion for summary judgment and lost.
     2
       Nor are Walmart’s substantive MILs 1 and 2 the types of motions in limine that
24   might properly seek exclusion of claims and theories at trial based on the Court’s
25   prior summary judgment orders. First, with respect to Plaintiff’s MSJ, the Court
     obviously did not limit Plaintiff’s claims in any respect. (Dkt. No. 135). Second,
26   with respect to Walmart’s MSJ, the Court denied that motion “in its entirety,”
27   leaving no room for Walmart to somehow argue that the Court adjudicated or
     limited any of Plaintiff’s claims or theories in this case. (Dkt. No. 162 at 24).
28

                                    3          2:19-cv-05495-MWF-JC
         PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 8 of 18 Page ID #:16286



 1   Orders did not strike the prior motion in limine briefing, nor did the parties ask the
 2   Court to do so. The Orders just provide a new “last day” that the parties could file
 3   motions in limine—i.e., “at least three weeks before the final pretrial conference”—
 4   if they had not already done so. (Dkt. No. 23 at 6). Walmart already filed its
 5   motions “at least three weeks” before the final PTC.
 6          Walmart’s motions should be summarily denied.
 7   III.   WALMART’S “AMENDED” MOTIONS STILL LACK MERIT.
 8          Even if the Court were to consider Walmart’s “amended” arguments, they
 9   should still be rejected as each new argument lacks merit. Given that Walmart has
10   not withdrawn any of its original briefing, Plaintiff relies on its prior oppositions,
11   which it supplements below to address Walmart’s new, “amended” arguments.
12             A. Walmart’s “Amended” Motion in Limine No. 1
13          Walmart’s motion in limine should be denied for all of the reasons stated in
14   Plaintiff’s opposition. (Dkt. No. 202). In short, Walmart’s motion re-hashes its
15   failed summary judgment arguments and is wrong on the merits. Plaintiff alleged
16   and disclosed infringement of five different works, including the original Complaint
17   and throughout the litigation, and there is no basis for Walmart to whittle down
18   Plaintiff’s claims through a motion in limine. Walmart also fails to understand that
19   the number of copyright registrations is not necessarily the same thing as the
20   number of “works” for purposes of assessing statutory damages.3
21          Walmart’s “amended” MIL 1 further stretches Walmart’s already-strained
22   arguments. Walmart now resorts to all out distortion of the Court’s prior rulings.
23   For example, Walmart insists that the Court’s ruling on Walmart’s MSJ “only
24   considered whether Walmart infringed the Medusa lamp” and that “[no other lamps
25
     3
       Gamma Audio & Video, Inc. v. Ean-Chea, 11 F.3d 1106, 1117 (1st Cir. 1993)
26   (“copyrights in multiple works may be registered on a single form, and thus
27   considered one work for the purposes of registration . . . while still qualifying as
     separate ‘works’ for purposes of awarding statutory damages” (emphasis in
28   original)).

                                    4          2:19-cv-05495-MWF-JC
         PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 9 of 18 Page ID #:16287



 1   were considered” in that motion. (Dkt. No. 182 at 2:10-13). But that’s because
 2   Walmart’s MSJ only challenged infringement as to the Medusa sculptural work,
 3   (Dkt. No. 133 at 13-16), which Plaintiff pointed out in opposing Walmart’s MSJ
 4   (Dkt. No. 154 at 5-7). Walmart’s failure to challenge infringement as to the other
 5   sculptural works does not preclude Plaintiff from asserting the unchallenged
 6   sculptural works, which Plaintiff disclosed from the outset (and at all stages) of the
 7   case. This is especially true since the Court denied Walmart’s MSJ “in its entirety.”
 8   (Dkt. No. 162 at 24).
 9         Further twisting the facts, Walmart contends that “[i]n order to preserve the
10   validity of the ʼ599 Registration for the photographs, the Court found that the
11   ‘Medusa and Polyp Pictorial Works’ were taken at a single sitting for the same
12   purpose and received a single copyright registration.” (Dkt. No. 268 at 7). Walmart
13   likewise claims that “[p]ursuant to the Court’s ruling [on Plaintiff’s MSJ], Plaintiff
14   is limited to a single award for the infringement of the ‘Medusa and Polyp pictorial
15   works.’” These are blatant and obvious mischaracterizations of the Court’s Order.
16   The Court did not go out of its way to “preserve the validity” of any copyrighted
17   works—the Court held that Walmart failed to “create a material dispute as to the
18   true owner/author of the Photographs.” (See Dkt. No. 135). The Court made no
19   finding that Plaintiff’s pictorial works constitute a single work, nor did the Court
20   comment on the manner in which they Photographs were registered.
21         Walmart’s related “amended” argument that Plaintiff’s pictorial works
22   constitute a single work for purposes of statutory damages, is not only a summary
23   judgment argument that the Court already rejected (see Dkt. No. 133 at 21 (Walmart
24   arguing “Plaintiff may elect only one award of statutory damages for the alleged
25   infringement of the Photographs.”); Dkt. No. 163 at 23 (“The MSJ is DENIED in
26   its entirety.”)), but also plainly false. Indeed, Walmart claims “[t]here is no
27   evidence that the ‘Medusa’ and ‘Polyp’ pictorial works live their own copyright
28   life.” (Dkt. No. 268 at 5). Walmart also adds that “[t]here is no evidence that the

                                   5          2:19-cv-05495-MWF-JC
        PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
     Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 10 of 18 Page ID
                                     #:16288


 1   photographs have any independent economic value, as the only economic value at
 2   issue in the case is the lamps sold by Sunsea.” (Id. at 6). Both Ms. Russell and Mr.
 3   Blum will testify about how each of Ms. Russell’s five works have independent
 4   economic value and Plaintiff should not be required to marshal that evidence here
 5   in response to an undisclosed, improper motion.4 Again, Walmart’s “no evidence”
 6   argument is not a proper motion in limine.
 7            B. Walmart’s “Amended” Motion in Limine No. 2
 8         As mentioned, Walmart’s MIL 2 is entirely new. Rather than seeking to
 9   exclude reference to “Sunsea’s Other Bad Acts” per Walmart’s original MIL 2 (and
10   still reflected on the docket), Walmart now asks the Court to “exclude evidence and
11   arguments regarding any irrelevant damages.” (Dkt. No. 269 at Notice of Motion).
12   In fact, on June 3, Walmart stated that it “intends to withdraw its Motion in Limine
13   No. 2, ECF No. 183, and substitute another in its place.” (Ex. F at 1). But Walmart
14   never did so—it just vaguely claims to have “amended” its prior motion. See L.R.
15   7-15 (“moving party who intends to withdraw a motion before the hearing date”
16   must “file and serve a notice of withdrawal of the motion . . . immediately.”).
17   Walmart’s tactics and substantive requests should be roundly rejected. In any event,
18   Walmart seems to acknowledge that its previous motion in limine should be denied.
19         Walmart’s new MIL 2 is equally without merit. For context, in addition to
20   copyright infringement, Plaintiff has alleged claims for (i) false designation of
21   origin under the Lanham Act, (ii) false advertising under the Lanham Act, (iii)
22   common law unfair competition, and (iv) violation of section Cal. Bus. & Prof.
23   Code § 17200. Plaintiff’s false designation of origin claim is based on Walmart’s
24   use of her distinctive images to sell counterfeit products. (Dkt. No. 276 at 12-13).
25   Relatedly, Walmart’s use of Plaintiff’s images to sell its inferior products also
26   renders its advertisements literally false. With respect to common law unfair
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      Plaintiff pointed to such evidence in opposing Walmart’s MSJ on this issue. (See
28   Dkt. No. 154 at 38).

                                    6          2:19-cv-05495-MWF-JC
         PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
     Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 11 of 18 Page ID
                                     #:16289


 1   competition, Walmart passed off its goods as those of Plaintiff, using images of
 2   Plaintiff’s products and Plaintiff’s reputation to sell its own products. These actions
 3   also constitute unfair competition under section 17200.
 4         Walmart sought summary judgment on all of Plaintiff’s “unfair competition”
 5   claims. The Court addressed those arguments and denied Walmart’s motion in full.
 6   (Dkt. No. 162 at 22-24). Through its second “amended” MIL, Walmart distorts
 7   these claims and, as Plaintiff understands it, makes four arguments.
 8         First, Walmart argues that Plaintiff’s Lanham Act claims (and related
 9   damages) are supposedly foreclosed because Plaintiff is not asserting a
10   “trademark.” This improper argument for summary adjudication of Plaintiff’s
11   claims is nonsensical—Walmart misrepresents the law.            “While much of the
12   Lanham Act addresses the registration, use, and infringement of trademarks and
13   related marks, § 43(a), 15 U.S.C. § 1125(a) is one of the few provisions that goes
14   beyond trademark protection.” Dastar Corp. v. Twentieth Century Fox Film Corp.,
15   539 U.S. 23, 28–29 (2003) (emphasis added). As such, courts have rejected
16   Walmart’s argument that a “trademark” is a prerequisite to a Section 43(a) claim.
17   See Marquis Mobile Dental Servs., LLC v. Abercrombie, No. 3:08-1206, 2009 WL
18   10694950, at *2 (M.D. Tenn. Mar. 11, 2009) (“Simply put, § 43(a)(1) is not limited
19   to the protection of trademark holders and the existence of a trademark is not a
20   necessary prerequisite to a § 43(a) action.”) (cleaned up); Corker v. Costco
21   Wholesale Corp., No. C19-0290RSL, 2019 WL 5887340, at *2 (W.D. Wash. Nov.
22   12, 2019) (“[Defendant’s] first argument, that one or all of the plaintiffs must have
23   a protectable trademark in the word Kona in order to bring a Lanham Act claim, is
24   incorrect in the context of this case.”). The cases cited by Walmart reference
25   trademarks because trademarks were at issue in those cases, not because they are
26   required under section 43(a).
27         Second, Walmart argues that Dastar precludes “Plaintiff’s Section 43(a)
28   claims.” (Dkt. No. 269 at 4). Not so. The Supreme Court in Dastar held that failure

                                   7          2:19-cv-05495-MWF-JC
        PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
     Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 12 of 18 Page ID
                                     #:16290


 1   to give proper attribution to an author of a film cannot support a false designation
 2   of origin claim because the “origin” of goods in section 43(a) concerns “the
 3   producer of the tangible goods that are offered for sale, and not to the author of
 4   any idea, concept, or communication embodied in those goods.” 539 U.S. 23, 36-
 5   37. That is, the author to an expired copyrighted work cannot re-cast his expired
 6   copyright claim as falsely designating the creative origin of that work. Id.
 7         Here, Ms. Russell sells her tangible goods directly to consumers. The
 8   evidence will show that Walmart deceived consumers into believing it was selling
 9   Ms. Russell’s tangible goods when Walmart used Ms. Russell’s images to sell its
10   goods.     Ms. Russell will testify and present evidence showing that potential
11   customers of her products associate her distinctive images with her as the source of
12   those goods. Ms. Russell’s false designation of origin claim is not premised on
13   Walmart failing to correctly disclose her authorship or conception of the relevant
14   works to consumers. “Preemption” does not apply.
15            Third, Walmart argues that Plaintiff is not entitled to punitive damages as a
16   matter of law. (Dkt. No. 269 at 7-8). Again, this is obviously a summary judgment
17   issue. On the merits, the Ninth Circuit has confirmed that punitive damages are
18   available under a common law unfair competition claim. See Transgo Inc. v. Ajac
19   Transmission Parts Corp., 768 F.2d 1001, 1025 (9th Cir. 1985) (affirming award
20   of punitive damages on unfair competition claims); Duncan v. Stuetzle, 76 F.3d
21   1480, 1490 (9th Cir. 1996) (“We are aware of no authority which suggests that [Cal.
22   Civ. Code § 3294(a) regarding punitive damages] may not be applied to common
23   law unfair competition claims.”). Walmart’s policy arguments about windfalls and
24   circumvention of the Copyright Act are not supported in the factual record or the
25   case law. See Adobe Sys., Inc. v. Tilley, No. C 09-1085 PJH, 2010 WL 309249, at
26   *5 (N.D. Cal. Jan. 19, 2010) (no mention of punitive damages); Microsoft Corp. v.
27   Ricketts, No. C 06-06712 WHA, 2007 WL 1520965, at *4 (N.D. Cal. May 24, 2007)
28   (same); Adobe Sys. Inc. v. Johnson, No. CV146313FMOVBKX, 2015 WL

                                   8          2:19-cv-05495-MWF-JC
        PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
     Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 13 of 18 Page ID
                                     #:16291


 1   12681313, at *6 (C.D. Cal. Apr. 27, 2015) (same).
 2         Fourth, Walmart’s strange, conclusory argument that Plaintiff cannot submit
 3   new or undisclosed damages theories is misplaced.         (Dkt. No. 269 at 9-10).
 4   Plaintiff’s damages theories have not changed, nor does Walmart identify any new
 5   theories. Walmart is just grasping at straws and making up facts.
 6            C. Walmart’s “Amended” Motion in Limine No. 3
 7         Walmart’s motion in limine should be denied for all of the reasons stated in
 8   Plaintiff’s opposition. (Dkt. No. 207). In short, Plaintiff disclosed both her own
 9   sculptural lamps and the infringing lamps at the outset of the case (including in the
10   Complaint, Rule 26(a) disclosures, etc.), Walmart never requested inspection of the
11   lamps during discovery, Magistrate Judge Chooljian did not order production of the
12   lamps, and in any event, Plaintiff made the lamps available for inspection in
13   September 2021 as part of the pretrial exchanges of trial exhibits. In its “amended”
14   motion, Walmart now doubles-down on its factual distortions, again wrongly
15   arguing that it somehow requested inspection of the lamps during discovery and
16   wrongly arguing that Plaintiff has denied Walmart’s inspection requests. These
17   arguments are vexatious and belied by the record.
18         For example, Walmart again re-casts its discovery requests, this time
19   contending that Plaintiff should have divined that Walmart was seeking an
20   inspection of the lamps because “Rule 34 includes ‘tangible things.’” (Dkt. No. 270
21   at 3). But Walmart’s RFP’s asked for “documents” (lower case), not “tangible
22   things.” Walmart cites no authority (or even a reasoned argument) for why Plaintiff
23   should have understood its request for “documents” to include an inspection of the
24   lamps. Nor does Magistrate Judge Chooljian’s discovery order mention anything
25   about inspecting sculptures. (Dkt. No. 101).
26         Walmart’s MIL relies on Rule 37, which is premised on a “failure to make
27   disclosures.” There is no question that, from the outset of the case, Plaintiff
28   disclosed the existence of these physical exhibits. The fact that Walmart never

                                   9          2:19-cv-05495-MWF-JC
        PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
     Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 14 of 18 Page ID
                                     #:16292


 1   asked to inspect them during the discovery period does not mean that Plaintiff failed
 2   in her disclosure obligations.
 3         More fundamentally, Walmart did conduct an inspection of the lamps on
 4   September 13, 2021 as part of the pretrial exchanges. Now, after raising no further
 5   issues over the past nine months, Walmart complains that the lamps were “bundled
 6   together” and the infringing lamp was not assembled to their liking. (Dkt. No. 270
 7   at 5). If Walmart had a problem with the inspection, it should have raised that with
 8   Plaintiff’s counsel in the moment, so that these complaints could have easily been
 9   addressed right away. But it did no such thing—counsel for Walmart just said they
10   finished the inspection and left Plaintiff’s counsel’s office (Papazian Decl. ¶¶ 3-4),
11   apparently content with crying foul rather than actually inspecting the lamps.
12         Walmart also claims that Plaintiff has continued to deny its requests to
13   inspect the lamps. Walmart is not being truthful. In between the September 13,
14   2021 inspection and May 17, 2022, Walmart did not once ask another inspection of
15   the lamps. (Papazian Decl. ¶ 5). Even setting aside the fact that discovery has
16   remained closed in the interim, when the parties met and conferred on May 17,
17   2022, Plaintiff asked Walmart to withdraw the instant motion since an inspection
18   had already occurred. In that context, it was Plaintiff who invited Walmart to
19   further inspect the lamps if it wants to do so. (See Dkt. No. 270-16 at 3 (Walmart’s
20   counsel confirming that Plaintiff offered to make the sculptures available for
21   inspection)). But Walmart balked, insisting that Plaintiff must essentially re-open
22   fact and expert discovery for the inspection to proceed. (Id.).
23         Walmart’s counterfactual motion should be denied.
24             D. Walmart’s “Amended” Motion in Limine No. 4
25         Walmart’s motion in limine should be denied for all of the reasons stated in
26   Plaintiff’s opposition.   (Dkt. No. 208).     In short, Mr. Blum is credible, his
27   methodologies are sound (and unchallenged), and his opinions easily pass muster
28   under Rule 702 and Daubert. Even so, having read Plaintiff’s September 20

                                   10         2:19-cv-05495-MWF-JC
        PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
     Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 15 of 18 Page ID
                                     #:16293


 1   Opposition, Walmart launches a revamped broadside attack against Mr. Blum in its
 2   “amended” MIL 4. Plaintiff addresses these new arguments below.
 3            Opinion #1 (Actual Damages). First, Walmart now claims Mr. Blum’s
 4   testimony is inadmissible because he declined to accept Walmart’s “four sales”
 5   theory of the case. But far from “burying his head in the sand,” as Walmart alleges,
 6   Mr. Blum analyzed Walmart’s sales records and found them to be unreliable
 7   because they were manipulated. (Blum July 24 Rpt. ¶ 66; Ex. G (Blum Dep. Tr.)
 8   at 157:18-24 (“if one part of this document has been manipulated, then there is a
 9   high risk if not likelihood that there’s been other manipulations of the document . .
10   .”)). Mr. Blum is not required to accept Walmart’s suspicious records. (See Dkt.
11   No. 162 at 4-5 (Court noting that “Plaintiff disputes [the sales figures], arguing that
12   Walmart has failed to provide reliable sales data, and has continued to alter the total
13   number of sales throughout this litigation.”)). More fundamentally, Walmart’s sales
14   need not be used to estimate Plaintiff’s lost profits. Brighton Collectibles, Inc. v.
15   RK Texas Leather Mfg., 923 F. Supp. 2d 1245, 1254 (S.D. Cal. 2013) (rejecting
16   theory that “plaintiff’s lost profits case be based solely upon the number of the
17   Defendants’ sales”).
18            Second, Walmart now claims that Mr. Blum failed to “base any estimate of
19   Plaintiff’s actual damages on the ‘proximate cause’ of any damages to Plaintiff.”
20   (Dkt. No. 271 at 4-5). But Walmart just ignores Mr. Blum’s actual opinions. Mr.
21   Blum applies the widely accepted “before and after” methodology5 to his lost profits
22   analysis and dedicates several paragraphs to explaining why that is appropriate.
23   (See July 24 Rpt. ¶¶ 57-63). For example, “a customer who views [Walmart’s]
24   lower-priced options would no longer attribute the same value to Plaintiff’s
25   sculptural works.” (Id. ¶ 62). Mr. Blum further explains that this is particularly so
26   here because Walmart “uses images that appear to be similar, like or perhaps the
27
28   5
         See Brighton, 923 F. Supp. 2d at 1254.

                                      11         2:19-cv-05495-MWF-JC
           PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
     Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 16 of 18 Page ID
                                     #:16294


 1   same as Plaintiff’s images,” and “buyers for Plaintiff’s sculptural works would
 2   diminish as a result of the listings on Walmart.com.” (Id.) Walmart refuses to
 3   engage with any of this substance—instead, it ironically dismisses Mr. Blum’s
 4   opinions as ipse dixit without explaining why.
 5         Third, Walmart’s causation arguments regarding sales increases and
 6   decreases are not grounds for Daubert exclusion. Walmart is free to challenge Mr.
 7   Blum’s conclusions from the data on cross-examination, but the focus here “must
 8   solely be on principles and methodology, not on the conclusions that they generate.”
 9   Daubert, 509 U.S. at 595.
10         Opinion #1 (Walmart’s Profits). As Plaintiff explained in her original
11   opposition, Walmart, not Mr. Blum or Plaintiff, is statutorily tasked with deducting
12   its costs and apportioning its revenue to show just the profits attributable to the
13   infringement. (Dkt. No. 208 at 4). The Court has already told Walmart as much in
14   rejecting this argument on summary judgment. (Dkt. No. 162 at 22 (“It is Walmart’s
15   burden under § 504(b) to establish that other factors contributed to its revenue and
16   to what extent these other factors played a role.”).        Undeterred, Walmart’s
17   “amended” MIL 4 redoubles its attack on Mr. Blum, claiming that his reliance on
18   Walmart’s revenue figures is not a “reasonable estimate attributable to the
19   infringing conduct” and citing Walmart’s expert who disagrees with Mr. Blum.
20   None of this is a basis to preclude Mr. Blum from testifying—Walmart failed to
21   provide any apportionment or any data to do so. (See Dkt. No. 162 at 22). Mr.
22   Blum is merely accepting Walmart’s revenue figures in his damages calculations.
23         Opinion #2 (Corrective Advertising). Walmart further expands its
24   challenge to Mr. Blum’s corrective advertising opinion, claiming that his inputs are
25   not “tied to the facts of the case” because he used Ms. Russell’s lamp-specific sales
26   conversion rate instead of Walmart’s site-wide sales conversion rate. (Dkt. No. 271
27   at 7-8). Specifically, for his “corrective advertising” opinion, Mr. Blum calculates
28   how many people viewed the Accused Listings by using Ms. Russell’s product-

                                   12         2:19-cv-05495-MWF-JC
        PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
     Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 17 of 18 Page ID
                                     #:16295


 1   specific “conversion rate,” which is the percentage of views of her products that
 2   result in sales. Walmart’s expert performs the same analysis but uses Walmart’s
 3   site-wide conversion rate that is not specific to any category of products. In other
 4   words, the experts agree on the methodology and formula, but disagree on the
 5   inputs. The question of which expert’s inputs is most appropriate is not a Daubert
 6   issue—Mr. Blum’s use of Plaintiff’s conversion rate is obviously “tied to the facts
 7   of the case.” This new attack also fails.
 8         Walmart’s new arguments, just like its old ones, should be rejected.
 9             E. Walmart’s “Amended” Motion in Limine No. 5
10         Walmart’s motion in limine should be denied for all of the reasons stated in
11   Plaintiff’s opposition. (Dkt. No. 209). Namely, Ms. Russell is qualified to testify
12   on her sculptures and the infringing products, her Rule 26(a)(2)(C) disclosure is
13   sufficient, and Walmart waived its “conflict of interest” challenge.
14         Walmart relies on Perfect 10, Inc. v. Giganews, Inc., No. CV 11-07098-AB
15   (SHX), 2014 WL 10894452, at *6 (C.D. Cal. Oct. 31, 2014) to argue Ms. Russell
16   should be precluded from testifying in an expert capacity due to her financial stake
17   in this case as the Plaintiff. Ms. Russell explained in her September 20, 2021
18   Opposition that Ninth Circuit precedent establishes that a party’s interest in an
19   action “would affect the weight, not the admissibility of the testimony.” (Dkt. No.
20   209 at 2 (citing Ralston-Purina Co. v. Bertie, 541 F.2d 1363, 1367 (9th Cir. 1976)).
21         Since the last round of briefing, the Ninth Circuit has re-affirmed Plaintiff’s
22   view. In October 2021, the Ninth Circuit confirmed (in an unpublished opinion) that
23   Ralston-Purina stands for the proposition that a party’s “interest in the action would
24   affect the weight, not the admissibility of his testimony as an expert witness.”
25   Washington v. Essex, No. 18-16644, 2021 WL 4922373, at *1 n.1 (9th Cir. Oct. 21,
26   2021) (affirming district court’s decision to allow defendant doctors to testify as
27   experts). Walmart does not address either of these Ninth Circuit authorities.
28         Further, early this year, another court rejected nearly the exact same “conflict

                                   13         2:19-cv-05495-MWF-JC
        PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
     Case 2:19-cv-05495-MWF-JC Document 295 Filed 06/13/22 Page 18 of 18 Page ID
                                     #:16296


 1   of interest” arguments raised by Walmart. Namely, in Maritech Marine Servs., LLC
 2   v. Bay Welding Servs., Inc., No. 3:20-CV-00231-SLG, 2022 WL 138677, at *2 (D.
 3   Alaska Jan. 14, 2022), the plaintiff (relying on Perfect 10) sought to preclude the
 4   defendant’s owner from testifying as an expert because he had “a direct financial
 5   stake in the outcome of [the] case.” Id. The Court rejected Plaintiff’s argument,
 6   distinguishing Perfect 10 because, unlike the alleged expert in that case, the
 7   proffered expert in Maritech “does not ‘almost certainly lack the specialized
 8   knowledge relevant’” to the case. Id. The Court further held that the plaintiff’s
 9   concerns about the expert’s financial stake could be addressed in cross-examination
10   “with the ultimate question of credibility to be determined by the trier of fact.” Id.
11   The Court here should likewise reject Walmart’s challenge to Ms. Russell.
12      IV.       CONCLUSION
13         Walmart’s original and “amended” MILs should be denied in their entirety.
14
15   DATED: June 13, 2022                 By: /s/ Steve Papazian
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                                   14         2:19-cv-05495-MWF-JC
        PLAINTIFF’S OMNIBUS OPP. TO WALMART’S “AMENDED” MILS
